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8                                   UNITED STATES DISTRICT COURT
9                               EASTERN DISTRICT OF CALIFORNIA
10

11   United States of America,                     No. 2: 12-CR-169-MCE-11
12                     Plaintiff,                  STIPULATION REGARDING
                                                   EXCLUDABLE TIME PERIODS UNDER
13           v.                                    SPEEDY TRIAL ACT; ORDER
14   Beshiba Cook,
15                     Defendant.
16
17                                          STIPULATION

18   1.      By previous order, this matter was set for status on May 18, 2017.

19   2.      By this stipulation, defendant Beshiba Cook, by and through her undersigned

20           counsel, now moves to continue the status conference until June 29, 2017, at

21           10:00 a.m., and to exclude time between May 18, 2017 and June 29, 2017, under

22           Local Code T4.

23   3.      The parties agree and stipulate, and request that the Court find the following:

24           a)    The government has represented that the discovery associated with this

25                 case includes approximately 2590 pages of investigative reports and

26                 related documents and recordings of thousands of wiretap calls. All of this

27                 discovery has been produced directly to counsel.

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1             b)    Counsel for defendant desires additional time to consult with his client,

2                   conduct investigation and research, review discovery, and to discuss

3                   potential resolution with his client. Counsel for the defendant and counsel

4                   for the government have been continuing to engage in negotiations toward

5                   possible resolution.

6             c)    Counsel for defendant believes that failure to grant the above-requested

7                   continuance would deny counsel the reasonable time necessary for

8                   effective preparation, taking into account the exercise of due diligence.

9             d)    The United States does not object to the continuance.

10            e)    Based on the above-stated findings, the ends of justice served by

11                  continuing the case as requested outweigh the interest of the public and

12                  the defendant in a trial within the original date prescribed by the Speedy

13                  Trial Act.

14            f)    For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

15                  3161, et seq., within which trial must commence, the time period of May

16                  18, 2017 and June 29, 2017, inclusive, is deemed excludable pursuant to

17                  18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a

18                  continuance granted by the Court at defendant’s request on the basis of

19                  the Court’s finding that the ends of justice served by taking such action

20                  outweigh the best interest of the public and the defendant in a speedy trial.

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1    4.      Nothing in this stipulation and order shall preclude a finding that other provisions

2            of the Speedy Trial Act dictate that additional time periods are excludable from the

3            period within which a trial must commence.

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5    IT IS SO STIPULATED.

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7    Dated: May 16, 2017                               /s/ Dustin D. Johnson
                                                       DUSTIN D. JOHNSON
8                                                      Counsel for Defendant
                                                       Beshiba Cook
9

10   Dated: May 16, 2017                               Phillip A. Talbert
                                                       United States Attorney
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12                                                     /s/ Jason Hitt (approved via email)
                                                       Jason Hitt
13                                                     Assistant United States Attorney
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15                                              ORDER

16           IT IS SO ORDERED.

17   Dated: May 18, 2017

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